                         Case 18-15891-LMI             Doc 36       Filed 06/29/18         Page 1 of 1
Form CGFD17 (10/15/10)

                                   United States Bankruptcy Court
                                              Southern District of Florida
                                                www.flsb.uscourts.gov
                                                                                                  Case Number: 18−15891−LMI
                                                                                                  Chapter: 7


In re:
Maurice Symonette
14100 NW 14 AVE
Miami, FL 33167

SSN: xxx−xx−9067




   NOTICE REGARDING FILING OF TRANSCRIPT AND DEADLINE FOR FILING
  NOTICE OF INTENT OR MOTIONS TO REQUEST REDACTION OF TRANSCRIPT

Notice is hereby given that an official transcript of a proceeding held on 6/22/18 has been filed on
6/28/2018 by the court reporter in the above captioned matter.

Pursuant to the "Bankruptcy Court Guidelines on Electronic Availability of Transcripts and Procedures for
Transcript Redaction", the parties have until 07/05/2018 to file with the court a local form "Notice of Intent
to Request Redaction of Transcript." Parties timely filing the local form "Notice of Intent to Request
Redaction of Transcript" shall, within 21 days of the date the transcript was docketed, unless otherwise
ordered by the court, file a "Statement of Personal Data Identifier Redaction Request" which shall indicate,
by page and line number, the location of the personal data identifiers for which redaction is being
requested.

Parties seeking to review the unredacted transcript filed with the court may either (1) purchase a copy of
the transcript from the court reporter: Ouellette and Mauldin Court Reporters, 28 West Flagler St., Suite
808, Miami, Florida 33130, (305) 358−8875; or (2) view a copy of the transcript at no charge in any of the
clerk's three divisional offices.

If a "Statement of Personal Data Identifier Redaction Request" is filed, the redacted transcript is due
07/30/2018.

Absent the filing of a timely motion related to redaction, or further order of the court, the transcript will be
made available after 09/26/2018 for remote electronic access and at the clerk's office public terminals for
viewing and printing.

Dated: 6/29/18                                                    CLERK OF COURT
                                                                  By: Carmela Grimm
                                                                  Deputy Clerk


The clerk shall serve a copy of this notice on all case participants listed as appearances on the transcript.
